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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re                                                                Chapter 11

    FTX TRADING LTD., et al.,1                                           Case No. 22-11068 (JTD)

                               Debtors.                                  (Jointly Administered)


    FTX TRADING LTD., ALAMEDA                                            Adv. Pro. No. 24-_____ (___)
    RESEARCH LLC, ALAMEDA RESEARCH
    LTD., WEST REALM SHIRES INC., WEST
    REALM SHIRES SERVICES INC.,
    CLIFTON BAY INVESTMENTS LLC,
    COTTONWOOD GROVE LTD, EUCLID
    WAY LTD, PAPER BIRD INC., FTX
    DIGITAL MARKETS, LTD.2

                               Plaintiffs,

                          - against -

    BINANCE HOLDINGS LIMITED.,
    BINANCE CAPITAL MANAGEMENT CO.
    LTD, BINANCE HOLDINGS (IE)
    LIMITED, BINANCE (SERVICES)
    HOLDINGS LIMITED, CHANGPENG
    ZHAO, DINGHUA XIAO, SAMUEL
    WENJUN LIM, and DOES 1-1000

                               Defendants.


                                                  COMPLAINT

            Plaintiffs in the above-captioned adversary proceeding bring this complaint (the

“Complaint”) through the undersigned counsel and allege as follows:




1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288
      and 4063 respectively. Due to the large number of debtor entities in the above-captioned chapter 11 cases, a
      complete list of the Debtors’ last four digits of their federal tax identification numbers is not provided herein,
      but may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/FTX.
2
      FTX Digital Markets Ltd. (in Official Liquidation) was incorporated in the Commonwealth of The Bahamas
      as an International Business Company, registered number 207269B.



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                                 NATURE OF THE ACTION

       1.      In one sense, the story of FTX is well known. Once a rising star in the crypto

universe, FTX collapsed under the weight of the many material errors committed by its

founder, Sam Bankman-Fried (“Bankman-Fried”), and other FTX insiders, ultimately filing

for bankruptcy protection in November 2022. Less well known, however, is that Bankman-

Fried’s pervasive malfeasance began long before it was discovered. Indeed, unbeknown to its

customers and creditors, based on a proper accounting of its assets and liabilities, the debtors

in these chapter 11 cases (the “Debtors”) may have been insolvent from inception and certainly

were balance-sheet insolvent by early 2021. Because of its insolvency, the Debtor Plaintiff’s

July 2021 transfer of at least $1.76 billion worth of cryptocurrency to its equity holder Binance

and certain Binance executives, in the form of a share repurchase, was a constructive fraudulent

transfer based on a straightforward application of Section 548(a)(1)(B) of the Bankruptcy

Code. Moreover, because the transfer was made in furtherance of Bankman-Fried’s scheme

described herein, it was also an intentional fraudulent transfer under Section 548(a)(1)(A) of

the Bankruptcy Code.

       2.      Binance (as defined herein), founded in 2017 by Changpeng Zhao is today the

largest cryptocurrency exchange in the world by trading volume, with more than $100 trillion

in all-time trade value. While indisputably successful, Binance and Zhao achieved their

success in large part due to their patent disregard for, and affirmative violations of, the laws of

the United States. In 2023, Binance pleaded guilty to failing to implement anti-money

laundering and sanctions compliance policies, which, according to the United States Treasury

Secretary, “allowed money to flow to terrorists, cybercriminals, and child abusers through its

platform.” Zhao himself pleaded guilty to failure to implement anti-money laundering policies

and was sentenced to four months in prison.




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        3.      Binance first acquired an equity stake in FTX in November 2019, when

Bankman-Fried sold 20% of his newly-minted international crypto exchange—FTX.com—

owned by FTX Trading (as defined herein), to what was then one of his largest competitors.

Binance purchased its stake in FTX Trading with 1,002,739 of Binance’s exchange token,

BNB. A little over a year later, Bankman-Fried expanded his cryptocurrency business into the

United States, under the umbrella of a parent company called WRS (as defined herein). In or

about February 2020, Binance Executives acquired a 18.4% stake in WRS for just two dollars.

        4.      As discussed in more detail herein, Binance exited its investment in FTX in

2021. As Zhao would later remark, he decided to exit his position in FTX because of personal

grievances he had against Bankman-Fried. In July 2021, the parties negotiated a deal whereby

FTX bought back Binance’s and its executives’ entire stakes in both FTX Trading and WRS.

Pursuant to that deal, FTX’s Alameda Research division directly funded the share repurchase

with a combination of FTT (FTX’s exchange token), BNB (Binance’s exchange token), and

BUSD (Binance’s dollar-pegged stablecoin). In the aggregate, those tokens had a fair market

value of at least $1.76 billion.

        5.      But Alameda was insolvent at the time of the share repurchase and could not

afford to fund the transaction. Indeed, as Bankman-Fried’s second-in-command, Caroline

Ellison, would later testify, she contemporaneously told Bankman-Fried “we don’t really have

the money for this, we’ll have to borrow from FTX to do it.” According to Ellison’s testimony,

Alameda spent about $1 billion of FTX Trading’s capital received from depositors to fund the

repurchase.    Ellison further testified that Bankman-Fried dismissed her concerns about

financial resources, telling her that, notwithstanding the need to use customer deposits, the

repurchase was “really important, we have to get it done.” Indeed, as discussed below, one of

the reasons Bankman-Fried viewed the transaction as “really important” was precisely because

of his desire to conceal his companies’ insolvency and send a false signal of strength to the


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market. In connection with the share repurchase, Bankman-Fried was asked directly by a

reporter whether Alameda funded the entire repurchase using its own assets, expressing

surprise that Alameda could have done so given the purchase price and what was publicly

known regarding Alameda’s financial resources. In response, Bankman-Fried falsely stated:

“The purchase was entirely from Alameda. Yeah, it had a good last year :P” (i.e., an emoji for

a tongue sticking out). Of course, as is now known, Bankman-Fried’s statement that the

repurchase was “entirely” funded from Alameda was false, as it was largely funded by funds

received as FTX customer deposits in furtherance of Bankman-Fried’s deception.

       6.      The need to borrow funds received as customer deposits held at FTX Trading

was problematic for two reasons. First, Alameda’s inability to fund the transaction using its

own balance sheet was indicative of Alameda’s insolvency. Second, and worse still, the use of

funds from the trading platform to fund the repurchase left the platform in an even greater

imbalance, which Bankman-Fried attempted to cover up in a pervasive fraud that infected

virtually all aspects of FTX’s business. Indeed, in large part due to such fraud, FTX Trading

was also insolvent at the time of the Binance share repurchase, which closed on July 21, 2021.

In other words, the FTX Trading shares acquired through the share repurchase were actually

worthless based on a proper accounting of FTX Trading’s assets and liabilities.

       7.      Having divested himself of his equity stake in his rival FTX, Zhao then set out

to destroy his now-unaffiliated competitor. As FTX grew, it became a clear threat to Binance’s

market dominance. Indeed, the period after the 2021 Share Repurchase (as defined herein) was

marked by distrust and acrimony between the rival cryptocurrency businesses and their

founders. In the end, Zhao’s succeed-at-all-costs business ethos was not limited to facilitating

money laundering. Beginning on November 6, 2022, Zhao sent a series of false, misleading,

and fraudulent tweets that were maliciously calculated to destroy his rival FTX, with reckless

disregard to the harm that FTX’s customers and creditors would suffer. As set forth herein in


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more detail, Zhao’s false tweets triggered a predictable avalanche of withdrawals at FTX – the

proverbial run on the bank that Zhao knew would cause FTX to collapse. To make matters

worse, with FTX in freefall, Zhao sent additional false tweets calculated, in part, to prevent

FTX from seeking and obtaining alternative financing to cauterize the run on the institution by

customers deceived by the tweets. Collectively and individually, these false public statements

destroyed value that would have otherwise been recoverable by FTX’s stakeholders.

       8.      Shortly after and based in part on Zhao’s series of false tweets and lingering

financial damage caused by the 2021 Share Repurchase, the Securities Commission of The

Bahamas petitioned for the winding up of FTX DM (defined below) on November 10, 2022.

On November 11 and November 14, 2022 (for purposes of this Complaint, collectively, the

“Petition Date”), the Debtors filed with the United States Bankruptcy Court for the District of

Delaware (the “Court”) voluntary petitions for relief under Chapter 11 of the Bankruptcy

Code. By this lawsuit, the Plaintiffs seek to recover, for the benefit of FTX’s creditors, at least

$1.76 billion that was fraudulently transferred to Binance and its executives at the FTX

creditors’ expense, as well as compensatory and punitive damages to be determined at trial.

                               JURISDICTION AND VENUE

       9.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 157 and

1334. Venue of this proceeding is proper under 28 U.S.C. § 1409. This action is a core

proceeding within the meaning of 28 U.S.C. § 157(b) and an adversary proceeding pursuant to

Rule 7001 of the Federal Rules of Bankruptcy Procedure.

       10.     Pursuant to Rule 7008-1 of the Local Rules of Bankruptcy Practice and

Procedure of the Court, Plaintiffs consent to the entry of final orders and judgments by the

Court on these claims to the extent that it is later determined that the Court, absent consent of

the parties, cannot enter final orders or judgments consistent with Article III of the United

States Constitution.


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                                       THE PARTIES

       11.     Plaintiff FTX Trading, Ltd. (“FTX Trading”) is a corporation registered in

Antigua and Barbuda. FTX Trading did business as “FTX.com,” a global exchange that offered

customers the ability to trade cryptocurrencies and related assets. As of the Petition Date, FTX

Trading was 80% owned by Paper Bird Inc.

       12.     Plaintiff FTX Digital Markets Ltd. (“FTX DM” and, together with the Debtors,

“FTX”) is a company incorporated in the Commonwealth of The Bahamas, acting through

Brian C. Simms KC, Kevin G. Cambridge and Peter Greaves in their capacity as joint and

several official liquidators of FTX DM (and in their capacity as joint and several provisional

liquidators, where applicable). On December 19, 2023, and as subsequently amended, FTX

DM and the Debtors entered into a Global Settlement Agreement (“GSA”) which, among other

things, resolved a dispute regarding the ownership of certain assets and the allocation of

recoveries therefrom. Pursuant to the GSA, FTX DM’s customers’ recoveries are tied to the

Debtors’ customers’ recoveries. Thus, an increase in the Debtors’ recoveries also increases

FTX DM’s customers’ recoveries.

       13.     Plaintiff Alameda Research Ltd. (“Alameda Ltd.”) is a British Virgin Islands

company limited by shares. It is a wholly owned subsidiary of Alameda LLC.

       14.     Plaintiff Alameda Research LLC (“Alameda LLC”) is a Delaware limited

liability company that was as of the Petition Date 90% owned by Bankman-Fried and 10%

owned by Gary Wang (“Wang”).

       15.     Plaintiff West Realm Shires, Inc. (“WRS” and, together with its subsidiaries,

“FTX U.S.”) is a Delaware corporation that was as of the Petition Date 52.99% owned by

Bankman-Fried, 16.93% owned by Wang, 7.83% owned by Nishad Singh (“Singh”), and

22.25% owned by other minority shareholders, including WRS employees and outside

investors.


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       16.     Plaintiff West Realm Shires Services Inc. (“WRSS”) doing business as “FTX

US,” is a Delaware corporation and a wholly owned subsidiary of Plaintiff WRS.

       17.     Plaintiff Cottonwood Grove Ltd. (“Cottonwood”) is a Hong Kong company

limited by its shares and a subsidiary of Plaintiff Alameda LLC.

       18.     Plaintiff Euclid Way Ltd. (“Euclid Way”) is an Antigua company limited by its

shares and a subsidiary of Plaintiff Alameda LLC.

       19.     Plaintiff Paper Bird Inc. (“PaperBird”) is a Delaware corporation that as of the

Petition Date was 100% owned by Bankman-Fried.

       20.     Plaintiff Clifton Bay Investments LLC (“Clifton” and, together with FTX

Trading, Alameda Ltd., Alameda LLC, WRS, WRSS, Cottonwood, Euclid Way, and PaperBird

(the “Debtor Plaintiffs”), is a Delaware limited liability company that as of the Petition Date

was 100% owned by Bankman-Fried.

       21.     Defendant Binance Holdings, Ltd., d/b/a Binance.com (“Binance Holdings”)

is Cayman Islands limited liability company founded by Defendant Zhao.

       22.     Defendant Binance Capital Management Co. Ltd. (“Binance Capital

Management”) is a company established under the laws of the British Virgin Islands.

       23.     Defendant Binance Holdings (IE) Limited (“Binance IE”) is a holding

company incorporated in Ireland.

       24.     Defendant Binance (Services) Holdings Limited (“Binance Services” and,

together with Binance IE, Binance Holdings and Binance Capital Management, “Binance” or

the “Binance Defendants”) is a holding company incorporated in Ireland. Defendants Binance

Holdings, Binance IE, Binance Services, and Zhao consented to the entry of a December 14,

2023 Consent Order entered in the United States District Court for the Northern District of

Illinois (the “Consent Order”) in connection with an action brought by the Commodity

Futures Trading Commission. The Consent Order referenced above states in its Findings of


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Fact that Binance Holdings and “at least certain” Binance affiliates, including Binance

Holdings, Binance IE and Binance Services “have commingled funds, relied on shared

technical infrastructure, and engaged in activities to collectively advertise and promote the

Binance brand.” Those findings of fact further state that “Binance’s reliance on a maze of

corporate entities to operate the Binance platform is deliberate; it is designed to obscure the

ownership, control, and location of the Binance platform.”

       25.     Defendant Changpeng Zhao (“Zhao” also commonly known as “CZ”) is the

founder and former CEO of Binance. Zhao pled guilty to violating the Bank Secrecy Act, 31

USC 5311 et seq, by causing Binance to fail to implement an effective anti-money laundering

program. He ceased his role as CEO of Binance on November 21, 2023. Upon information

and belief, Zhao retains his ownership stake in Binance, which is an estimated 90% of the

company. The Consent Order states in its Findings of Fact that “Zhao has directly or indirectly

owned the scores of entities that collectively operate the Binance platform . . . .”

       26.     Defendant Dinghua Xiao worked at Binance from approximately 2017 to

September 2019 at various Binance subsidiaries, including BitDJ in Tokyo, Japan, and Ruique

Culture Development Co, Ltd., in Shanghai, China.

       27.     Defendant Samuel Wenjun Lim was the Binance Head of Compliance from

2018 through 2022.

       28.     Does 1-1,000 are defendants, including but not limited to initial and subsequent

transferees of the 2021 Fraudulent Transfers (defined below), whose true names, identities and

capacities are presently unknown to the Plaintiffs. As and when the names, identities, and

capacities of these fictitiously named Defendants become known, the Plaintiffs will amend this

Complaint to set forth these Defendants’ true names, identities, and capacities and otherwise

proceed against them as if they had been named parties upon the commencement of this

adversary proceeding.


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                                 FACTUAL BACKGROUND

          A.      The Creation of the Binance and FTX Exchanges

          29.     In 2017, Defendant Zhao launched Binance.com to provide services to crypto

asset investors. Since at least July 2017, Binance has operated Binance.com as an international

crypto asset trading platform. The Binance.com platform markets itself as being available to

customers in more than 170 countries. It offers trading in over 350 crypto assets and makes

available various other investment opportunities involving crypto assets. Binance operates

through a number of affiliated entities, in multiple jurisdictions, all tied to Zhao as the

beneficial owner. Today, Binance.com is the largest cryptocurrency trading exchange in the

world with a 24-hour spot trading volume of over $40 billion USD, nearly four times larger

than its second closest competitor.

          30.     In 2017, Zhao and Binance created a new cryptocurrency, “Binance coin” or

“BNB.” BNB is the native cryptocurrency of the Binance exchange. From inception, Binance

touted an investment in BNB as an investment in Binance itself, including its efforts to create

a successful crypto-only asset trading platform.

          31.     In 2019, Binance also introduced its “stablecoin”—a cryptocurrency that is

specifically pegged to the value of a stable asset—and called it “BUSD.” Unlike BNB, a token

that can experience significant volatility in price, BUSD is pegged to and backed by the U.S.

dollar.

          32.     In 2017, Bankman-Fried co-founded Alameda LLC, a crypto trading hedge fund

organized under the laws of Delaware (together with Alameda Ltd. and its subsidiaries,

“Alameda”). By May 2019, that venture led him to found his own crypto exchange, FTX.com,

to operate as an international platform to trade and invest in cryptocurrency.

          33.     On May 8, 2019, FTX launched “FTT,” FTX’s native digital asset token. FTT

is an “exchange token” proprietary to FTX that offered its holders certain benefits that flowed


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from trading or investment activity on FTX’s exchanges. FTT was designed in such a way that

it derived its total value from FTX’s enterprise value. BNB had a similar function, each of

which allowed the respective exchanges control over the coin available on the market, which

could inflate or deflate the prices.

        B.       Binance Acquires Equity in FTX Entities

        34.      In or about August 2019, discussions about Binance purchasing an equity stake

in FTX began. After months of negotiations, on or about November 27, 2019, Binance

purchased 250 Series A Preferred Shares in FTX Trading (equaling an approximately 20%

stake) at an issuance price of $73,200 USD per share (the “2019 Share Transfer”). To fund

the acquisition, Binance paid 1,002,739 BNB, which had a trading value of approximately

$18.3 million.

        35.      As part of the 2019 Share Transfer, FTX Trading and Binance entered into an

Investor’s Rights Agreement dated November 27, 2019, whereby Binance received a right of

first refusal with respect to any new FTX Trading securities issued up to the equivalent amount

that Binance held at the time (the “Binance ROFR”). FTX co-founders Bankman-Fried and

Wang also entered into non-compete agreements on the same day in which they agreed that

they would not obtain an ownership stake in or provide services to any company competing

with Binance besides FTX.

        36.      By the end of 2019, Bankman-Fried had determined to open a United States-

based exchange platform. On February 28, 2020, Zhao signed a waiver of the non-compete

allowing Bankman-Fried and Wang to hold equity interests in WRS, the parent company of

FTX’s new U.S. exchange platform. Bankman-Fried took a 52.9% equity interest in WRS.

        37.      That same day, Zhao, along with other Binance executives, Defendants Dinghua

Xiao and Samuel Wenjun Lim (collectively, including Zhao, the “Binance Executives”), also

purchased 200,000 WRS Shares in the aggregate (equaling approximately 18.4% stake in


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WRS) pursuant to a founders restricted stock purchase agreements dated February 28, 2020 for

an aggregate purchase price of two dollars.

       C.      The 2021 Share Repurchase

       38.     In July 2021, Bankman-Fried and FTX entered into discussions with Binance

regarding a potential repurchase of the FTX Trading and WRS shares held by Binance and the

Binance Executives (the “2021 Share Repurchase”). The Parties consummated the 2021

Share Repurchase on or about July 15, 2021, as memorialized in seven written agreements

executed on the same day:

               1)     July 15, 2021 Share Transfer Agreement for the transfer of the FTX
                      Trading Series A Preferred Shares to Euclid Way (“Series A Preferred
                      Share Transfer Agreement”);

               2)     July 15, 2021 Share Transfer Agreement for the transfer of 42,838 WRS
                      Shares from Xiao to Bankman-Fried (“Xiao–Bankman-Fried Share
                      Transfer Agreement”);

               3)     July 15, 2021 Share Transfer Agreement for the transfer of 93,478 WRS
                      Shares from Zhao to Bankman-Fried (“Zhao–Bankman-Fried Share
                      Transfer Agreement”);

               4)     July 15, 2021 Share Transfer Agreement for the transfer of 33,122 WRS
                      Shares from Lim to Wang (“Lim–Wang Share Transfer Agreement”);

               5)     July 15, 2021 Share Transfer Agreement for the transfer of 10,423 WRS
                      Shares from Xiao to Wang (“Xiao–Wang Share Transfer
                      Agreement”);

               6)     July 15, 2021 Share Transfer Agreement for the transfer of 20,139 WRS
                      Shares from Lim to Singh (“Lim–Singh Share Transfer Agreement”,
                      together with the Lim–Wang Share Transfer Agreement, Zhao–Wang
                      Share Transfer Agreement, Zhao–Bankman-Fried Share Transfer
                      Agreement, and the Xiao–Bankman-Fried Share Transfer Agreement,
                      the “FTX Executives Share Transfer Agreements”); and

               7)     July 15, 2021 Termination Certificate dissolving the Initial Series A
                      Preferred Share Transfer Agreement and the Binance ROFR.

       39.     The 2021 Share Repurchase recouped both the FTX Trading shares purchased

by Binance in 2019 (the “FTX Trading Repurchase”) and the WRS shares purchased by

Binance Executives in 2020 (the “WRS Repurchase”). In exchange, FTX and its executives


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agreed to pay consideration consisting of BNB, FTT, and BUSD. While the true value of the

FTT, which was tied to the value of FTX, was likely zero at the time based on a proper

accounting of FTX Trading’s assets and liabilities, the BNB and BUSD transferred in

consideration for the 2021 Share Repurchase had a fair market value of approximately $1.76

billion.

           40.      The WRS Repurchase prong of the 2021 Share Repurchase involved certain

FTX executives, as buyers, and the Binance Executives, as sellers, whereby the FTX executives

individually entered into the FTX Executives Share Transfer Agreements for the repurchase of

the 200,000 WRS Shares, at a price per share of $152.63, for a quantity of BUSD equal to

$30,526,000. At the time of the WRS Repurchase, WRS was balance-sheet insolvent based on

a proper accounting of the Debtors’ assets and liabilities, rendering the repurchased WRS

shares worthless.

           41.      The FTX Trading Repurchase prong of the 2021 Share Repurchase involved a

newly created subsidiary of Alameda, Euclid Way, as the nominal buyer, and Defendant

Binance Capital Management Co. Ltd., as nominal seller, whereby Euclid Way agreed to

purchase 96,456,750 Series A Preferred Shares (all of Binance’s Series A Preferred Shares)3

for:

                    1)      A quantity of BUSD equal to $1,172,237,000 based on a conversion
                            formula specified in the Share Transfer Agreement;

                    2)      A quantity of BNB equal to $554,868,500 based on a conversion
                            formula specified in the Share Transfer Agreement; and

                    3)      A quantity of FTT equal to $554,868,500 based on a conversion formula
                            specified in the Share Transfer Agreement.




3
       FTX Series A Preferred Shares went through a 385,827 to 1 stock split on April 30, 2020, which converted
       Binance’s 250 (par value $1.00) Series A Preferred Shares into 96,546,750 (par value $0.0000026) Series A
       Preferred Shares.

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       42.     At the time of the FTX Trading Repurchase, FTX Trading was balance-sheet

insolvent, so it had no equity value. The repurchased FTX Trading shares therefore had no

value based on a proper accounting of FTX Trading’s assets and liabilities.

       43.     While not a party to any of the agreements, Alameda (specifically, Alameda

Ltd.) was the direct transferor of all of the consideration in connection with the 2021 Share

Repurchase. For the FTT portion of the consideration, Alameda transferred the FTT directly

to one or more Binance entities. For the BUSD portion of the consideration, Alameda first

needed to obtain the BUSD. It did so through a series of transactions, including transferring at

least $721 million U.S. dollars to a New York trust maintained by an entity called “Paxos.”

Upon information and belief, Paxos, while not affiliated with Binance, served as the issuer of

BUSD on Binance’s behalf. Upon Alameda’s transfer of the U.S. Dollars to Paxos, Paxos then

“minted” an equivalent amount of BUSD and transferred it to Alameda. Alameda then

transferred the BUSD to an Alameda-controlled account on the Binance.com exchange (which

account was held in the name of Evergreen North Ltd. (“Evergreen”)).               Immediately

thereafter, upon information and belief, Alameda directed the transfer of the BUSD from the

Evergreen Binance.com account directly to one or more Binance entities. For the BNB portion

of the consideration, Alameda already held a quantity of BNB in the Evergreen account at

Binance.com. On the date of the 2021 Share Repurchase, upon information and belief,

Alameda directed the transfer of the requisite BNB directly to one or more Binance entities.

       44.     On the back end, Alameda entered into “loan agreements” with each of Euclid

Way and the FTX executives for their respective obligations under the 2021 Share Repurchase.

But, upon information and belief, none of these loan agreements were ever repaid, nor was

there any intention to repay them.




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       D.       The 2021 Share Repurchase Was Made By and for Insolvent Companies in
                Furtherance of Bankman-Fried’s Underlying Fraud

       45.      The transfers made by the Debtor Plaintiffs (funded directly by Alameda) to

Binance were made at a time when (i) Alameda as a whole, and each of its subsidiaries, were

insolvent; (ii) FTX Trading as a whole, and each of its subsidiaries, were insolvent;

(iii) Alameda and FTX Trading on a combined and consolidated basis were insolvent; and

(iv) all Debtors on a combined and consolidated basis were insolvent. The causes of the

Debtors’ insolvency, and the means by which the Debtors were able to conceal it and appear

to operate normally, are manifold and will be proven at trial in detail. Fundamentally, however,

major drivers of the Debtors’ insolvency include the following:

       (i)      The FTT held by the Debtors was worth far less than the amount at which FTX
                booked its FTT assets. Indeed, as Ellison testified, it would have been
                “misleading” to put Alameda’s FTT holdings in Alameda’s balance sheet
                around the time of the 2021 Share Repurchase because “we wouldn’t have been
                able to sell all the FTT for that much and it was much larger than the rest of the
                items on our balance sheet at the time.”

       (ii)     Similarly, other cryptocurrencies closely tied to FTX and Bankman-Fried,
                colloquially known as “Sam coins,” were overvalued on the Debtors’ balance
                sheet.

       (iii)    At the behest of Bankman-Fried, the Debtors concealed, and at times actively
                misrepresented, material facts about their business, including Alameda’s
                unlimited line of credit against FTX Trading, as well as the fact that funds
                received from customers, in exchange for a demand obligation, were being used
                to fund Alameda’s risky and illiquid investments. Indeed, FTX’s creditors, and
                the market generally, were unaware that FTX Trading did not have the financial
                resources to satisfy all customer deposits at the time of the 2021 Share
                Repurchase. FTX would not have been able to continue to operate its business
                had customers attempted to withdraw their deposits.

       (iv)     In part due to its ongoing fraud, at the time of the 2021 Share Repurchase, the
                Debtors had accrued large regulatory liabilities that were unaccounted for in the
                Debtors’ financial statements, including liabilities to the Internal Revenue
                Service and the Commodity Futures Trading Commission.

       46.      Indeed, just prior to the 2021 Share Repurchase, Ellison prepared a balance

sheet that showed that Alameda’s net asset value was approximately negative $2.7 billion, with

liabilities of $9.4 billion.   Ellison informed Bankman-Fried that Alameda did not have

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sufficient funds to complete the 2021 Share Repurchase Agreement. Accordingly, as set forth

above, Bankman-Fried directed Alameda to take approximately $1 billion USD from FTX

customer deposits on the FTX.com platform to fund the 2021 Share Repurchase using

Alameda’s “line of credit on FTX.” The line of credit became an unlimited borrowing

mechanism which allowed the confiscation of customer deposits.

       47.     The 2021 Share Repurchase was a critical component of Bankman-Fried’s

pervasive fraud involving the unauthorized use of FTX customer deposits. Ellison testified

that the 2021 Share Repurchase “confirm[ed] that [Bankman-Fried] saw Alameda’s line of

credit on FTX as a general backstop source of funds for whenever we needed funds.” Indeed,

according to Ellison, the 2021 Share Repurchase represented a significant scaling up of the

scheme, describing it as the “the first time that I can recall an amount that large being taken

from FTX.”

       48.     The 2021 Share Repurchase also furthered Bankman-Fried’s deceptive scheme

to hide the vulnerability of the exchange to a run on the institution by customers seeking to

reclaim their assets deposited on the exchange. Contemporaneous communications reflect that

Bankman-Fried’s goal was to use the 2021 Share Repurchase to project confidence and strength

to the market, concealing both the underlying insolvency and the fraudulent use of customer

deposits. Just three days after the 2021 Share Repurchase, Bankman-Fried spoke with a

reporter from Forbes to discuss the transaction, and he and the reporter engaged in a follow-up

email exchange in the following days. In that exchange, the reporter asked:

       [I]s there a chance we could take a look at Alameda’s asset breakdown? The
       purchase of Binance’s shares was worth roughly $2.3B so profits must be
       huge and the last AUM we had for Alameda was around $2.5B. If I
       understand correctly, the purchase was made in cash, FTT, BUSD, and
       BNB. Are these tokens solely Alameda’s? Did you spend any of your own
       FTT?



Bankman-Fried answered:

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       The purchase was entirely from Alameda. Yeah, it had a good last year :P

Bankman-Fried’s false statements that the 2021 Share Repurchase was funded “entirely from

Alameda” and a result of Alameda having “a good year last year” evidence Bankman-Fried’s

intent to use the 2021 Share Repurchase to convey confidence and strength to the market at a

time when the Debtors were insolvent and secretly reliant on FTX Trading’s cash and crypto

from customer deposits for liquidity.

       49.     For substantially the same reasons that Alameda, FTX Trading, and the Debtors

individually and collectively were insolvent on a balance sheet basis, they were also

inadequately capitalized and unable to pay their debts as they came due. For example, the

customer funds deposited with FTX Trading that were secretly and unlawfully used to fund the

2021 Share Repurchase were callable by the customers at any time. At the time of the 2021

Share Repurchase, neither FTX Trading, nor Alameda, had the assets to satisfy customer

withdrawal requests if all customers, or even a significant portion of them, were to demand the

return of their assets at the same time because FTX had committed customer deposits, and its

own assets, to risky and illiquid investments. FTX’s inability to cover customer deposits in the

event of such a “run on the bank” scenario became clear to the world in November 2022 when

FTX collapsed, but FTX was similarly unprepared for such a scenario at the time of the 2021

Share Repurchase.

       50.     While the Debtors were able to raise new equity capital, at even higher

valuations, shortly after the 2021 Share Repurchase, those transactions were tainted by the

same overarching fraud. Indeed, investors who acquired equity in the Debtors after the 2021

Share Repurchase have asserted that such investments were induced by fraud. For example,

one such investor later asserted that its $275 million equity investment was induced by material

misrepresentations by FTX about “key aspects of FTX’s operations, including, among other

things, by claiming that FTX was legally compliant, that Alameda did not have superior access

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to the FTX exchanges, and that FTX did not rehypothecate or loan customer funds.” According

to the same investor, during the diligence process, FTX also “kept hidden . . . that FTX and

Alameda were more closely linked than FTX had claimed and that Alameda had a very large

exposure to FTT, the native token of the FTX exchanges.”

       51.      Based on their assertions that they were fraudulently induced to invest in FTX

Trading, preferred shareholders also asserted the right to forfeiture proceeds recoverable by the

Department of Justice from FTX insiders, leading to competing claims by the Debtors and the

preferred shareholders to such proceeds. As part of a settlement of that dispute, the Debtors

agreed to waive the Debtors’ claims for up to $230 million of those forfeiture proceeds in favor

of the preferred shareholders.

       E.      Zhao’s Campaign to Destroy FTX

       52.     Following the 2021 Share Repurchase, a widely reported feud arose between

Zhao and Bankman-Fried. This feud was due in part to public statements by Bankman-Fried

implying that Binance was not cooperative with government regulators and that FTX did not

want to be associated with Binance. Binance was indeed facing public accusations around the

globe of purposefully skirting banking and securities regulations, allowing money laundering

on its platform, allowing Iranian firms to trade on its platforms despite international sanctions,

allowing money to be funneled to terrorist organizations through its platform, and other illegal

conduct.

       53.     In or around summer 2022, calls for governments to regulate cryptocurrency

exchanges, including a proposed regulatory scheme known as “BitLicense” in the United

States, gathered steam. FTX and Bankman-Fried adopted a pro-regulation stance, with

Bankman-Fried claiming that FTX was going to be “the most regulated and law-abiding

cryptocurrency exchange in the world.” On the other hand, many crypto enthusiasts favored

decentralization. Such enthusiasts included Zhao, who ultimately, along with Binance, were


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found to have violated numerous U.S. regulations by using an intentionally opaque common

enterprise to engage in a “calculated strategy of regulatory arbitrage to their commercial

benefit.” Some crypto influencers, who, upon information and belief, were partially funded by

Binance, published explosive tweets calculated to turn customers against FTX, in part because

of its public support for crypto regulation. Such influencers were bringing Bankman-Fried’s

pro-regulation efforts to the crypto community’s attention. Tweets, YouTube videos, Telegram

groups, TikTok videos, and Reddit posts dedicated to criticizing Bankman-Fried’s regulatory

efforts were widely disseminated, sometimes getting hundreds of thousands of views and

comments.

       54.     Around this time, FTX management began to suspect Binance was engaged in

a “months-long coordinated [fear, uncertainty, and doubt] campaign against FTX.” On the

evening of November 6, 2022, Bankman-Fried drafted a document titled “Coordinated FUD”

(i.e. fear, uncertainty, and doubt) in which he detailed his theory. FTX management were not

the only ones who suspected this. The Examiner in the above-captioned chapter 11 cases noted

in the Report of Robert J. Cleary, Examiner, that “after the Voyager Digital auction closed [in

late October 2022], there was concern that Binance and CZ were putting out negative press

statements in order to derail the FTX Group’s purchase of Voyager Digital’s assets.” In a U.S.

Senate hearing, an investor close to Bankman-Fried testified that Zhao and Bankman-Fried

“were at war with each other, and one put the other out of business, intentionally.”

       F.      Zhao Deliberately Causes a Bank Run on FTX

       55.     On or about November 1, 2022, confidential Alameda financials were leaked to

CoinDesk, a news and media company that covers cryptocurrency and blockchain technology

and industries. Within FTX, it was strongly suspected that Binance and Zhao were involved

in the leak. On November 2, 2022, CoinDesk published its now-infamous article, Divisions in

Sam Bankman-Fried’s Crypto Empire Blur on His Trading Titan Alameda’s Balance Sheet


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(Ian Allen), revealing, among other things, that Alameda’s assets were made up largely of FTT,

raising serious concerns about both Alameda’s and FTX Trading’s financial condition.

       56.    On November 6, 2022, Zhao sent the following tweets (the “November 6 Tweet

Thread”):




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        57.      Zhao’s November 6 Tweet Thread was false and misleading in multiple

respects. First, it is known from the circumstances that Zhao’s apparent liquidation of FTT

and related public statements were part of a deliberate strategy to destroy FTX, and improve

Binance’s market position. Therefore, contrary to Zhao’s denial, Binance’s highly-publicized

apparent liquidation of its FTT was indeed a “move against a competitor” and was not, as Zhao

indicated, “due to recent revelations.” As Ellison testified, “if [Zhao] really wanted to sell his

FTT, he wouldn’t preannounce to the market that he was going to sell it. He would just sell it

[…] his real aim in that tweet, as I saw it, was not to sell his FTT, but to hurt FTX and

Alameda.”4 And, as Bankman-Fried observed, Binance “very publicly” sold its FTT to

“maximize the PR impact of it.” Similarly, in a Senate Hearing, an FTX investor stated: “All

of a sudden, in social media, CZ is asking for another $500 million. He wants to do a block

trade of FTT, or the proprietary token of FTX. He wants to convert it back to fiat. Why would

you put that out there? You know it is going to push down the value of that coin dramatically,

and that is exactly what happened.”

        58.      Second, contrary to Zhao’s statement, Binance’s apparent liquidation of FTT

was not done in a way that would “minimize [] market impact.” Rather, as set forth above,

Zhao’s intent was to maximize market impact and to cause a decline in the price of FTT, thereby

harming FTX and increasing Binance’s market share. Indeed, by the time Zhao sent the first

tweet in the November 6 Tweet Thread, Binance had apparently already sold a massive amount

of FTT in a single trade. Zhao publicly confirmed such trade in a tweet Zhao sent later the

same day:




4
    Caroline Ellison testified that Zhao’s tweet thread “brought concerns back and made them even stronger”
    because it referred to “recent revelations” that came to light, “suggesting that Binance is aware of negative
    news about FTX and Alameda.”

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By this later tweet, Zhao confirmed that a November 5 tweet from an account called “Whale

Alert” regarding the transfer of 22,999,999 FTT was indeed “part of” Zhao’s announced

liquidation of its FTT. This amount was greater than the 18,516,602 FTT that Binance received

in the 2021 Share Repurchase. Whether or not Binance had actually sold this FTT is unclear,

but what is clear is that Zhao wanted the market to believe he had done so.

       59.     As it was intended to do, Zhao’s November 6 Tweet Thread sparked a market

panic and a run on the bank at FTX. As the Examiner in the above-captioned chapter 11 cases

reported, Zhao’s announcement that “Binance would be liquidating its sizeable FTT holdings

. . . caused a rapid sell off of FTT.” Customer net withdrawals went from averaging $18 million

per hour over the period from October 31, 2022 and November 6, 2022 (prior to the November

6 Tweet Thread) to around $150 million per hour from November 6, 2022 and November 7,

2022 (after the November 6 Tweet Thread). Alameda contributed the vast majority of any

liquid assets to cover the withdrawals, but at the rate customers were withdrawing funds, FTX

management knew, in the words of FTX co-founder, Gary Wang, “FTX was not fine and assets

were not fine because FTX did not have enough assets for customer withdrawals.”

       60.     Later in the day on November 6, 2022, Zhao published the following tweet (the

“November 6 Risk-Management Tweet” and, together with the November 6 Tweet Thread,

the “November 6 False Tweets”):
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       61.     The November 6 Risk-Management Tweet was false and misleading in that, as

discussed above, Binance’s apparent liquidation of its FTT and Zhao’s public announcements

regarding the same, were not “just post-exit risk management.” Instead, as discussed above,

they were part of a deliberate strategy to cause a run on FTX as a means to destroy Binance’s

competitor FTX and improve Binance’s market position.

       62.     Upon information and belief, the run on the bank at FTX would not have

occurred had Zhao not misrepresented his true intentions in sending the November 6 False

Tweets. To the contrary, if the market had been aware that Zhao’s true intention was to harm

FTX, it is highly unlikely that the November 6 False Tweets would have sparked the panic that

it did. Customers would have understood that Zhao’s actions were motivated by a personal

and professional feud between FTX and Binance (and their respective founders) and not by

sincere concerns about “risk management” or “recent revelations.”

       63.     Unquestionably, the panic that Binance and Zhao created through the November

6 False Tweets caused financial harm to FTX and its creditors. Even assuming that the Debtors

were insolvent at the time of the November 6 Tweet Thread, Binance and Zhao’s statements

destroyed value that would have otherwise been recoverable by FTX’s stakeholders. As

discussed above, the resulting panic caused a surge in withdrawal and repayment requests by

customers and creditors. Not only did the withdrawals and repayments themselves diminish

FTX’s assets, but value was also destroyed because, among other reasons, the market panic

forced FTX to liquidate assets at discounted prices to generate liquidity to address the crisis,

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including to satisfy the withdrawal and repayment requests. The same panic forced FTX to

respond to emergency collateral calls by FTX’s lenders, which also ultimately diminished the

value recoverable by FTX’s stakeholders.

       64.     Given the unprecedented rate of withdrawals following the November 6 False

Tweets, FTX was in desperate need of an emergency infusion of capital. Bankman-Fried noted

FTX would “take whatever we can get, at whatever terms make people comfortable.” FTX

formed an “emergency funding team” to reach out to potential investors. Around the same time,

Bankman-Fried estimated that FTX only had a short time before it would run out of liquidity

to match customer withdrawals.

       65.     Around 1 a.m. on November 8, 2022, Bankman-Fried called Zhao. Upon

information and belief, during this phone call, Bankman-Fried informed Zhao that FTX would

soon find itself unable to satisfy customer withdrawal requests, in part because Alameda had

been borrowing large amounts from FTX.com customer deposits, necessitating the emergency

financing that Bankman-Fried was requesting from Zhao. Bankman-Fried reflected to the FTX

team that Zhao “seemed receptive” but needed to consider the proposal.

       66.     Only having considered Bankman-Fried’s proposal for approximately one hour,

around 2:30 a.m Zhao confirmed the “[r]ough proposal from us would be: we do a full take

over, cover all user asset shortage, to minimize damage to the market and the user . . . . [W]e

can move quickly.” Immediately thereafter, Bankman-Fried redirected FTX management’s

efforts toward building out a transaction with Binance where “CZ gets all dollars, tokens, and

FTX.com” and FTX would halt processing customer withdrawals from the FTX.com platform.

       67.     On November 8, 2022, Bankman-Fried and Zhao executed a letter of intent on

behalf of their respective companies (the “Letter of Intent”). The Letter of Intent provided

that, subject to due diligence to be completed within 30 days, Binance would acquire FTX

Trading and inject capital sufficient to address FTX’s liquidity issues. The Letter of Intent also


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included an exclusivity period in which FTX agreed not to seek financing from any other

investors.

       68.      A few hours later Zhao tweeted (the “November 8 Tweets”):




       69.      Based on the Letter of Intent, and the November 8 Tweets announcing the same,

FTX leadership halted communications with investors. As one officer at FTX wrote to a

colleague at this time, “In light of [the exclusivity provision], don’t think it makes sense to

engage with” certain other potential investors. Instead, FTX employees, including FTX

executives, quickly got to work gathering the documents requested by Binance. Binance sent

over a revised due diligence request list around 12:00 p.m. on November 9, 2022. Around the

same time, FTX employees and Binance employees started having kick-off calls to determine

the scope of the due diligence. The general counsel of FTX.US. wrote on November 9, 2022,

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“[s]poke to Binance legal this morning as a diligence kick-off call. Was very high level and

they said they would follow-up . . . .”

       70.     At 3:00 p.m. on November 9, 2022, while FTX employees were still working

on Binance’s updated diligence requests and despite Zhao’s warning that there was “a lot to

cover and [the deal] will take some time,” Binance published a tweet thread announcing that it

was backing out “as a result of corporate due diligence” (the “November 9 Tweets”).




       71.     According to Ellison, “within a day” after Binance’s November 9 Tweets,

everything at FTX fell apart.

       72.     As stated above, at the time Zhao entered into the Letter of Intent, he had, upon

information and belief, already been made aware of the “mishandled” customer funds during

his conversation with Bankman-Fried. This is contrary to Binance’s representation in the

November 9 Tweets that he learned that fact after entering into the Letter of Intent. In addition,

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Zhao was also aware that the Debtors were insolvent when he entered into the Letter of Intent.

Moreover, upon information and belief, during the approximately 24-hour period during which

Binance supposedly conducted “due diligence,” no new material information was provided to

Zhao and Binance in the diligence process that would have revealed new issues beyond

Binance’s “control or ability to help,” causing Binance to withdraw.

        73.     Based on these circumstances, it is now apparent that Binance’s execution of

the Letter of Intent, as well Zhao’s November 8 Tweets (announcing that Binance “intend[ed]

to fully acquire FTX.com”) and Binance’s November 9 Tweets (withdrawing from the Letter

of Intent “as a result of corporate due diligence”) were false and misleading in that Zhao and

Binance never intended to consummate the contemplated acquisition.             Instead, upon

information and belief, the Letter of Intent, and Zhao’s public statements, advanced Zhao’s

goal of destroying FTX by (i) preventing FTX from seeking alternate financing, and

(ii) allowing Zhao to create the impression, through Binance’s November 9 Tweets, that

Binance had seen something in the due diligence regarding FTX’s finances that was even worse

than what the public already believed.

        74.     FTX and its creditors were harmed by Binance’s and Zhao’s false and

misleading statements that they intended to acquire FTX, as well as their false and misleading

subsequent statements regarding the reason why they decided not to acquire FTX. This series

of false communications eliminated any possibility that FTX would obtain adequate emergency

financing from any other source. They also eliminated any possibility that FTX could resume

and stabilize its business.

        75.     As discussed above, FTX.com and FTX.US. experienced a significant increase

in gross and net withdrawals following the November 6 False Tweets. On November 6 and

November 7, 2022, FTX.com and FTX.US. exchanges processed approximately $6 billion in

net customer withdrawals, with many of the customers withdrawing more than 90% of their


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account value. This unprecedented increase in withdrawals led to withdrawals being halted on

the FTX.com exchange on November 8, 2022.

         76.    Notably, the withdrawal rate increased slightly following the publication of the

CoinDesk article on November 2, 2022 and then stabilized in the days following. Within hours

of the November 6 False Tweets, however, the withdrawal rate skyrocketed to unmanageable

levels. Furthermore, the publication of the CoinDesk article coincided with a slight dip in the

price of FTT, but some of that value had been recuperated in the days following publication.

However, after the Binance and Zhao’s tweets, the price of FTT plummeted from $24.36 to

$2.30.

         77.    On November 10, 2022, the Securities Commission of The Bahamas petitioned

the Supreme Court of The Bahamas for the winding up of FTX DM, the FTX.com entity

holding the license to operate the exchange in The Bahamas, as a result of, among other things,

the fallout from the Letter of Intent, the November 6 Tweet Thread, the November 8 Tweets,

and the November 9 Tweets. The request was provisionally granted placing FTX DM into

provisional liquidation. Almost simultaneously, on November 11, 2022, Bankman-Fried

appointed John J. Ray III (“Ray”) as CEO, withdrawing his managerial power for the rest of

the FTX enterprise. As his first act, Ray directed the filing of the above-captioned chapter 11

cases on an emergency basis on November 11, and November 14, 2022.

         78.    Additional factual background relating to FTX’s businesses and the

commencement of the above-captioned chapter 11 cases is set forth in the Declaration of John

J. Ray III in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 24], the Declaration

of Edgar W. Mosley II in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 57],

the Supplemental Declaration of John J. Ray III in Support of First Day Pleadings [D.I. 92],

and the Supplemental Declaration of Edgar W. Mosley II in Support of First Day Pleadings

[D.I. 93].


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        79.     After November 6, 2022, Binance saw a significant growth and increased

activity in the cryptocurrency market. Specifically, Binance experienced a surge in new users,

increase in trading volume and liquidity, and a significant increase in Binance’s market share.

In fact, Binance’s official blog stated that “[t]he biggest winner in 2022, Binance, gained nearly

20% market share.”

                                    CAUSES OF ACTION

                           FIRST CLAIM FOR RELIEF
  Avoidance and Recovery of Fraudulent Transfers (Constructive) Against All Defendants
                         [11 U.S.C. §§ 548(a)(1)(B) and 550]

        80.     Plaintiffs repeat and reallege each of the allegations set forth above and below

as if fully set forth herein.

        81.     Under 11 U.S.C. § 548(a)(1)(B), a debtor may avoid any transfer of an interest

of the debtor in property or any obligation incurred by the debtor that was made or incurred on

or within 2 years before the date of the filing of the petition if the debtor (i) received less than

reasonably equivalent value in exchange for such transfer or obligations; and (ii) was insolvent;

engaged or was about to engage in a business or transaction for which the remaining assets

were unreasonably small in relation to the business or transaction; or intended to incur, or

believed that the debtor would incur debts beyond its ability to pay such debts as they became

due.

        82.     As set forth above, in connection with the 2021 Share Repurchase, one or more

of the Debtor Plaintiffs made the following transfers within two years of the Petition Date (the

“2021 Fraudulent Transfers”) to or for the benefit of the Defendants as follows:




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                                                                          Transferor and Stated
             Transferee                   Amount Received
                                                                            Purpose Transfer
 Binance (with Binance
                                                                      From Alameda, for FTX
 Capital Management as              1,172,237,000 in BUSD
                                                                      Trading Repurchase
 nominal counterparty)
 Binance (with Binance
                                                                      From Alameda, for FTX
 Capital Management as              18,516,602 in FTT
                                                                      Trading Repurchase
 nominal counterparty)
 Binance (with Binance
                                                                      From Alameda, for FTX
 Capital Management as              1,764,041 in BNB
                                                                      Trading Repurchase
 nominal counterparty)
 Binance (with Zhao as                                                From Alameda, for WRS
                                    14,267,547.14 in BUSD
 nominal counterparty)                                                Repurchase
 Binance (with Xiao as                                                From Alameda, for WRS
                                    1,590,862.49 in BUSD
 nominal counterparty)                                                Repurchase
 Binance (with Xiao as                                                From Alameda, for WRS
                                    6,538,363.94 in BUSD
 nominal counterparty)                                                Repurchase
 Binance (with Lim as nominal                                         From Alameda, for WRS
                                    5,055,410.864 in BUSD
 counterparty)                                                        Repurchase
 Binance (with Lim as nominal                                         From Alameda, for WRS
                                    3,073,815.57 in BUSD
 counterparty)                                                        Repurchase

       83.      The 2021 Fraudulent Transfers were made as part of a single overall transaction,

the 2021 Share Repurchase, and should be treated as a single transfer for purposes of this action.

The 2021 Fraudulent Transfers collectively, and each of the 2021 Fraudulent Transfers

individually, constituted a transfer of an interest in the property of the Debtor Plaintiffs.

       84.      The 2021 Fraudulent Transfers collectively, and each of the 2021 Fraudulent

Transfers individually, were made in exchange for less than fair consideration and less than

reasonably equivalent value.

       85.      Each of (i) FTX Trading, (ii) Alameda, (iii) FTX Trading and Alameda on a

combined and consolidated basis, and (iv) all Debtors on a combined and consolidated basis,

were insolvent at the time of, or became insolvent as a result of, the 2021 Fraudulent Transfers.

       86.      At the time of the 2021 Share Repurchase, each of (i) FTX Trading,

(ii) Alameda, (iii) FTX Trading and Alameda on a combined and consolidated basis, and

(iv) all Debtors on a combined and consolidated basis, were engaged in a business or



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transaction for which the remaining assets were unreasonably small in relation to the business

or transaction.

        87.       At the time of the 2021 Share Repurchase, each of (i) FTX Trading,

(ii) Alameda, (iii) FTX Trading and Alameda on a combined and consolidated basis, and

(iv) all Debtors on a combined and consolidated basis, intended to, believed, or reasonably

should have believed that they would incur debts beyond their ability to pay such debts as they

became due.

        88.       By virtue of the foregoing, the 2021 Fraudulent Transfers collectively, and each

of the 2021 Fraudulent Transfers individually, were fraudulent transfers avoidable under

section 548 of the Bankruptcy Code and the Debtor Plaintiffs are entitled to avoid and recover

each of the 2021 Fraudulent Transfers under sections 548 and 550 of the Bankruptcy Code.

        89.       Under section 550(a) of the Bankruptcy Code, “[e]xcept as otherwise provided

in this section, to the extent that a transfer is avoided under section 544, 545, 547, 548, 549,

553(b), or 724(a) of this title, the trustee may recover, for the benefit of the estate, the property

transferred, or, if the court so orders, the value of such property, from (1) the initial transferee

of such transfer or the entity for whose benefit such transfer was made; or (2) any immediate

or mediate transferee of such initial transferee.”

        90.       Upon information and belief, each Defendant is an initial transferee of one or

more of the 2021 Fraudulent Transfers, an entity for whose benefit one or more of the 2021

Fraudulent Transfers was made, or an immediate or mediate transferee of one or more of the

2021 Fraudulent Transfers.

        91.       To the extent that one or more of the 2021 Fraudulent Transfers is avoided, the

Debtor Plaintiffs may recover the property transferred, or the value of the transferred property,

from each Defendant pursuant to section 550(a) of the Bankruptcy Code.




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                            SECOND CLAIM FOR RELIEF
  Avoidance and Recovery of Fraudulent Transfers (Constructive) Against All Defendants
[11 U.S.C. §§ 544, and 550, and applicable state law including Uniform Fraudulent Transfer
                 Act as enacted in Delaware or other applicable state law]

       92.     Plaintiffs repeat and reallege each of the allegations set forth above and below

as if fully set forth herein. Under section 544(b) of the Bankruptcy Code, any debtor may avoid

any transfer of an interest of the debtor in property or any obligation incurred by the debtor that

is avoidable under applicable law by a creditor holding an unsecured claim that is allowable

under section 502 of the Bankruptcy Code or that is not allowable only under section 502(e) of

the Bankruptcy Code. The phrase “under applicable law” has been interpreted to include the

state fraudulent transfer laws that would govern potentially fraudulent transactions. The Debtor

Plaintiffs include Alameda LLC, a limited liability company organized under the laws of the

State of Delaware, as well as multiple other entities organized under the laws of the State of

Delaware.

       93.       Under the Uniform Fraudulent Transfer Act as enacted in Delaware, a transfer

is fraudulent as to present creditors where the debtor made the transfer without receiving a

reasonably equivalent value in exchange for the transfer and the debtor was insolvent at that

time or the debtor became insolvent as a result of the transfer. Del. Code tit. 6, § 1305. A

transfer is fraudulent as to present and future creditors where the debtor did not receive

reasonably equivalent value for the transfer and the debtor (a) was engaged or was about to

engage in a business or a transaction for which the remaining assets of the debtor were

unreasonably small in relation to the business or transaction; or (b) intended to incur, or

believed that the debtor would incur debts beyond the debtor’s ability to pay as they became

due. Del. Code tit. 6, § 1304.

       94.     In connection with the 2021 Share Repurchase, one or more of the Debtor

Plaintiffs made the 2021 Fraudulent Transfers to or for the benefit of the Defendants.



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        95.       The 2021 Fraudulent Transfers collectively, and each of the 2021 Fraudulent

Transfers individually, constituted a transfer of an interest in the property of the Debtor

Plaintiffs.

        96.       At the times of, and subsequent to, each of the 2021 Fraudulent Transfers,

Debtor Plaintiffs had at least one creditor with an allowable unsecured claim for liabilities,

which remained unsatisfied as of the Petition Date.

        97.       The 2021 Fraudulent Transfers collectively, and each of the 2021 Fraudulent

Transfers individually, were made in exchange for less than fair consideration and less than

reasonably equivalent value.

        98.       Each of (i) FTX Trading, (ii) Alameda, (iii) FTX Trading and Alameda on a

combined and consolidated basis, and (iv) all Debtors on a combined and consolidated basis,

were insolvent at the time of, or became insolvent as a result of, the 2021 Fraudulent Transfers.

        99.       At the time of the 2021 Share Repurchase, each of (i) FTX Trading,

(ii) Alameda, (iii) FTX Trading and Alameda on a combined and consolidated basis, and

(iv) all Debtors on a combined and consolidated basis, were engaged in a business or

transaction for which the remaining assets were unreasonably small in relation to the business

or transaction.

        100.      At the time of the 2021 Share Repurchase, each of (i) FTX Trading,

(ii) Alameda, (iii) FTX Trading and Alameda on a combined and consolidated basis, and

(iv) all Debtors on a combined and consolidated basis, intended to, believed, or reasonably

should have believed that they would incur debts beyond its ability to pay such debts as they

became due.

        101.      By virtue of the foregoing, the 2021 Fraudulent Transfers collectively, and each

of the 2021 Fraudulent Transfers individually, were fraudulent transfers avoidable under

Delaware law or other applicable state law by a creditor holding an unsecured claim that is


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allowable under section 502 of the Bankruptcy Code, and the Debtor Plaintiffs are entitled to

avoid and recover each of the 2021 Fraudulent Transfers under sections 544 and 550 of the

Bankruptcy Code.

        102.    Under section 550(a) of the Bankruptcy Code, “[e]xcept as otherwise provided

in this section, to the extent that a transfer is avoided under section 544, 545, 547, 548, 549,

553(b), or 724(a) of this title, the trustee may recover, for the benefit of the estate, the property

transferred, or, if the court so orders, the value of such property, from (1) the initial transferee

of such transfer or the entity for whose benefit such transfer was made; or (2) any immediate

or mediate transferee of such initial transferee.”

        103.    Upon information and belief, each Defendant is an initial transferee of one or

more of the 2021 Fraudulent Transfers, an entity for whose benefit one or more of the 2021

Fraudulent Transfers was made, or an immediate or mediate transferee of one or more of the

2021 Fraudulent Transfers.

        104.    To the extent that one or more of the 2021 Fraudulent Transfers is avoided, the

Debtor Plaintiffs may recover the property transferred, or the value of the transferred property,

from each defendant pursuant to section 550(a) of the Bankruptcy Code.

                            THIRD CLAIM FOR RELIEF
    Avoidance and Recovery of Fraudulent Transfers (Intentional) Against All Defendants
                          [11 U.S.C. §§ 548(a)(1)(A) and 550]

        105.    Plaintiffs repeat and reallege each of the allegations set forth above and below

as if fully set forth herein.

        106.    Under 11 U.S.C. § 548(a)(1)(A), a debtor may avoid any transfer of an interest

of the debtor in property or any obligation incurred by the debtor that was made or incurred on

or within 2 years before the date of the filing of the petition date if the debtor made such transfer

or incurred such obligation with actual intent to hinder, delay, or defraud a creditor.




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        107.     In connection with the 2021 Share Repurchase, one or more of the Debtor

Plaintiffs made the 2021 Fraudulent Transfers to or for the benefit of the Defendants.

        108.     The 2021 Fraudulent Transfers collectively, and each of the 2021 Fraudulent

Transfers individually, constituted a transfer of an interest in the property of the Debtor

Plaintiffs.

        109.     The 2021 Fraudulent Transfers collectively, and each of the 2021 Fraudulent

Transfers individually, were made with the actual intent to hinder, delay, or defraud present

and future creditors. As set forth above, a large portion of the of the 2021 Share Repurchase

was secretly funded using assets deposited on the FTX Trading exchange by FTX customers,

who were all creditors of FTX. As set forth above, the 2021 Share Repurchase was also in

furtherance of Bankman-Fried’s fraud insofar as it was used to convey confidence and strength

to the market at a time when the Debtors were insolvent and secretly reliant on customer

deposits for liquidity.

        110.     By virtue of the foregoing, the 2021 Fraudulent Transfers collectively, and each

of the 2021 Fraudulent Transfers individually, were fraudulent transfers avoidable under

section 548(a)(1)(A) of the Bankruptcy Code, and the Debtor Plaintiffs are entitled to avoid

and recover each of the 2021 Fraudulent Transfers under sections 548(a)(1)(A) and 550 of the

Bankruptcy Code.

        111.     Under section 550(a) of the Bankruptcy Code, “[e]xcept as otherwise provided

in this section, to the extent that a transfer is avoided under section 544, 545, 547, 548, 549,

553(b), or 724(a) of this title, the trustee may recover, for the benefit of the estate, the property

transferred, or, if the court so orders, the value of such property, from (1) the initial transferee

of such transfer or the entity for whose benefit such transfer was made; or (2) any immediate

or mediate transferee of such initial transferee.”




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        112.    Upon information and belief, each Defendant is an initial transferee of one or

more of the 2021 Fraudulent Transfers, an entity for whose benefit one or more of the 2021

Fraudulent Transfers was made, or an immediate or mediate transferee of the initial transferee.

        113.    To the extent that one or more of the 2021 Fraudulent Transfers is avoided, the

Debtor Plaintiffs may recover the property transferred, or the value of the transferred property,

from each defendant pursuant to section 550(a) of the Bankruptcy Code.

                            FOURTH CLAIM FOR RELIEF
   Avoidance and Recovery of Fraudulent Transfers (Intentional) Against All Defendants
   [11 U.S.C. §§ 544, and 550, and applicable state law including the Uniform Fraudulent
             Transfer Act as enacted in Delaware or other applicable state law]

        114.    Plaintiffs repeat and reallege each of the allegations set forth above and below

as if fully set forth herein.

        115.    Under 11 U.S.C. § 544(b), a debtor may avoid any transfer of an interest of the

debtor in property or any obligation incurred by the debtor that is avoidable under applicable

law by a creditor holding an unsecured claim that is allowable under 11 U.S.C. § 502 or that is

not allowable only under 11 U.S.C. § 502(e). The phrase “under applicable law” has been

interpreted to include state fraudulent transfer laws that would govern potentially fraudulent

transactions.   The Debtor Plaintiffs include Alameda LLC, a limited liability company

organized under the laws of the State of Delaware, as well as multiple other entities organized

under the laws of the State of Delaware.

        116.    Under the Uniform Fraudulent Transfer Act as enacted in Delaware, a transfer

is fraudulent as to present and future creditors if the transfer was made with actual intent to

hinder, delay or defraud any creditor of the debtor. Del. Code tit. 6, § 1304.

        117.    In connection with the 2021 Share Repurchase, one or more of the Debtor

Plaintiffs made the 2021 Fraudulent Transfers to or for the benefit of the Defendants.




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        118.     The 2021 Fraudulent Transfers collectively, and each of the 2021 Fraudulent

Transfers individually, constituted a transfer of an interest in the property of the Debtor

Plaintiffs.

        119.     The 2021 Fraudulent Transfers collectively, and each of the 2021 Fraudulent

Transfers individually, were made with the actual intent to hinder, delay, or defraud present or

future creditors. As set forth above, a large portion of the of the 2021 Share Repurchase was

secretly funded using assets deposited on the FTX Trading exchange by FTX customers, who

were all creditors of FTX. As further set forth above, the 2021 Share Repurchase was also in

furtherance of Bankman-Fried’s fraud insofar as it was used to convey confidence and strength

to the market at a time when the Debtors were insolvent and secretly reliant on customer funds

for liquidity.

        120.     At the times of, and subsequent to, each of the 2021 Fraudulent Transfers, the

Debtor Plaintiffs had at least one creditor with an allowable unsecured claim for liabilities,

which remained unsatisfied as of the Petition Date.

        121.     By virtue of the foregoing, each of the 2021 Fraudulent Transfers was a

fraudulent transfer avoidable under 11 U.S.C. §544 and applicable state law including the

Uniform Fraudulent Transfer Act as enacted in Delaware, by a creditor holding an unsecured

claim that is allowable under 11 U.S.C. § 502, and the Debtor Plaintiffs are entitled to avoid

and recover each of the 2021 Fraudulent Transfers under 11 U.S.C. §§ 544 and 550.

        122.     Under section 550(a) of the Bankruptcy Code, “[e]xcept as otherwise provided

in this section, to the extent that a transfer is avoided under section 544, 545, 547, 548, 549,

553(b), or 724(a) of this title, the trustee may recover, for the benefit of the estate, the property

transferred, or, if the court so orders, the value of such property, from (1) the initial transferee

of such transfer or the entity for whose benefit such transfer was made; or (2) any immediate

or mediate transferee of such initial transferee.”


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        123.    Upon information and belief, each Defendant is an initial transferee of one or

more of the 2021 Fraudulent Transfers, an entity for whose benefit one or more of the 2021

Fraudulent Transfers was made or an immediate or mediate transferee of the initial transferee.

        124.    To the extent that one or more of the 2021 Fraudulent Transfers is avoided, the

Debtor Plaintiffs may recover the property transferred, or the value of the transferred property,

from each defendant pursuant to section 550(a) of the Bankruptcy Code.

                             FIFTH CLAIM FOR RELIEF
                 Recovery of Fraudulent Transfers Against All Defendants
                                   [11 U.S.C. § 550]

        125.    Plaintiffs repeat and reallege each of the allegations set forth above and below

as if fully set forth herein.

        126.    Under section 550(a) of the Bankruptcy Code, “[e]xcept as otherwise provided

in this section, to the extent that a transfer is avoided under section 544, 545, 547, 548, 549,

553(b), or 724(a) of this title, the trustee may recover, for the benefit of the estate, the property

transferred, or, if the court so orders, the value of such property, from (1) the initial transferee

of such transfer or the entity for whose benefit such transfer was made; or (2) any immediate

or mediate transferee of such initial transferee.”

        127.    Upon information and belief, each Defendant is an initial transferee of one or

more of the 2021 Fraudulent Transfers, an entity for whose benefit one or more of the 2021

Fraudulent Transfers was made, or an immediate or mediate transferee of the initial transferee.

        128.    Pursuant to 11 U.S.C. § 550(a), the Debtor Plaintiffs are entitled to recover the

property they transferred in connection with the 2021 Fraudulent Transfers or the value of such

property.

                                 SIXTH CLAIM FOR RELIEF
                       Injurious Falsehood Against Binance and Changpeng Zhao

        129.    Plaintiffs repeat and reallege each of the allegations set forth above and below

as if fully set forth herein.

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       130.    Under applicable law, a person who publishes a false statement harmful to the

interests of another is subject to liability for pecuniary loss resulting to the other if (1) the

person intends for publication of the statement to result in harm to interests of the other having

a pecuniary value, or either recognizes or should recognize that it is likely to do so, and (2) the

person knows that the statement is false or acts in reckless disregard of its truth or falsity.

       131.    As set forth above, the following statements by Binance Defendants and Zhao,

individually and collectively, were false and misleading: (1) the November 6 False Tweets,

(2) Binance’s execution of the Letter of Intent, (3) the November 8 Tweets, and (4) the

November 9 Tweets (collectively the “Binance False Statements”). Upon information and

belief, the Binance Defendants and Zhao maliciously intended for publication of the Binance

False Statements to harm the pecuniary interests of FTX. In particular, the Binance Defendants

and Zhao, through the Binance False Statements, intended to trigger a run on the bank by

publicizing Binance’s apparent liquidation of FTT. They then purported to come to the rescue,

publicly positioning Binance as the first third-party to gain access to FTX’s books and records

and other confidential information, thereby preventing FTX from seeking alternative financing

in the process and, subsequently, creating the impression that Binance had seen something in

the due diligence regarding FTX’s financials that was even worse than what the public already

believed. Upon information and belief, the Binance Defendants and Zhao knew that these

statements were false. In addition, the Binance False Statements were the partial basis for the

Securities Commission of The Bahamas seeking a winding up order for Plaintiff FTX DM.

       132.    As a direct and proximate result of the Binance False Statements, Plaintiffs have

suffered damages in an amount to be determined at trial. The Binance Defendants and Zhao

are jointly and severally liable to the Plaintiffs for such damages, plus pre- and post-judgment

interest, punitive damages, and all other relief to which Plaintiffs are entitled as a result of the

misconduct alleged herein.


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                                    SEVENTH CLAIM FOR RELIEF
                                Fraud Against Binance and Changpeng Zhao

        133.    Plaintiffs repeat and reallege each of the allegations set forth above and below

as if fully set forth herein.

        134.    Under applicable law, a claim for fraud requires proof of (1) a false

representation, (2) a defendant's knowledge or belief of its falsity or his reckless indifference

to its truth, (3) a defendant's intention to induce action, (4) reasonable reliance, and (5) causally

related damages.

        135.    As set forth above, the Binance False Statements, collectively and individually,

were false, and the Binance Defendants and Zhao made the Binance False Statements with

knowledge of their falsity. The Binance Defendants and Zhao made the Binance False

Statements with the intent to induce FTX’s customers to withdraw their deposits in order to

harm FTX, and FTX’s customers reasonably relied in the November 6 False Tweets when they

submitted an unprecedented surge in withdrawal requests in the following days. In addition,

with respect to Binance’s execution of the Letter of Intent and the November 8 Tweets

specifically, those statements were also intended to cause FTX to cease seeking alternative

financing, and FTX indeed ceased its search for alternative financing in reasonable reliance

upon those statements.

        136.    As a direct and proximate result of the Binance False Statements collectively

and individually, and the reasonable reliance thereon, Plaintiffs have suffered damages in an

amount to be determined at trial. The Binance Defendants and Zhao are jointly and severally

liable to Plaintiffs for such damages, plus pre- and post-judgment interest, punitive damages,

and all other relief to which Plaintiffs are entitled as a result of the misconduct alleged herein.




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                                EIGHTH CLAIM FOR RELIEF
               Intentional Misrepresentation Against Binance and Changpeng Zhao

        137.     Plaintiffs repeat and reallege each of the allegations set forth above and below

as if fully set forth herein.

        138.     Under applicable law, an intentional misrepresentation claim requires proof of

(1) deliberate concealment by the defendant of a material past or present fact, or silence in the

face of a duty to speak; (2) scienter on the part of the defendant; (3) the defendant’s intent to

induce plaintiff's reliance upon the concealment; (4) causation; and (5) damages resulting from

the concealment.

        139.     As set forth above, the Binance False Statements, collectively and individually,

concealed material facts, and the Binance Defendants and Zhao made the Binance False

Statements with the intent to conceal such facts. Specifically, in making the Binance False

Statements, the Binance Defendants and Zhao concealed the facts that (i) they were made in a

deliberate attempt to destroy their competitor, FTX and (ii) Binance never intended to acquire

FTX. The Binance Defendants and Zhao knew the Binance False Statements were false, and

nonetheless made the statements with the intent to induce FTX’s customers to withdraw their

deposits in order to harm FTX. FTX’s customers reasonably relied on the November 6 False

Tweets when they submitted an unprecedented surge in withdrawal requests in the following

days. In addition, with respect to Binance’s execution of the Letter of Intent and the November

8 Tweets specifically, those statements were also intended to cause FTX to cease seeking

alternative financing, and FTX indeed ceased its search for alternative financing in reasonable

reliance upon those statements.

        140.     As a direct and proximate result of the Binance False Statements collectively

and individually, Plaintiffs have suffered damages in an amount to be determined at trial. The

Binance Defendants and Zhao are jointly and severally liable to the Plaintiffs for such damages,



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plus pre-and post-judgment interest, punitive damages, and all other relief to which Plaintiffs

are entitled as a result of the misconduct alleged herein.

                                   NINTH CLAIM FOR RELIEF
                                Unjust Enrichment Against Binance and
                                           Changpeng Zhao

        141.    Plaintiffs repeat and reallege each of the allegations set forth above and below

as if fully set forth herein.

        142.    Under applicable law, a cause of action for unjust enrichment exists where one

party unjustly retains a benefit to the loss of another without justification, and where there is

no other legal remedy at law.

        143.    As set forth above, the Binance Defendants and Zhao made the Binance False

Statements with the intent to harm FTX and improve Binance’s market position. FTX suffered

the intended harm, and Binance’s customer base and revenues increased as a result.

        144.    As a result of the Binance False Statements collectively and individually,

Plaintiffs have suffered damages in an amount to be determined at trial. The Binance

Defendants and Zhao are jointly and severally liable to the Plaintiffs for such damages, plus

pre- and post-judgment interest, punitive damages, and all other relief to which Plaintiffs are

entitled as a result of the misconduct alleged herein.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their

favor, as requested above, and as further set forth below:

                A.       For an order avoiding and setting aside the transfers identified in Claims
                         I–V;

                B.       For an order directing each respective initial, immediate, and/or mediate
                         transferee of the transfers identified in Claims I-V to return to FTX the
                         property transferred or pay the value of such property, as determined by
                         the Court;

                C.       For an order compelling Defendants to pay to Plaintiffs, in restitution,
                         an amount not less than that which will make Plaintiffs whole;

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   D.   For an award of compensatory damages in an amount to be determined
        at trial;

   E.   For an award of punitive damages in an amount to be determined at trial;

   F.   For prejudgment interest;

   G.   For costs of suit; and

   H.   For such additional and further relief that Plaintiffs may be entitled to
        under law or equity.




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Dated: November 10, 2024
       Wilmington, Delaware

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